              Entered on Docket October 19, 2021              Below is the Order of the Court.




1                                                             _________________________
                                                              Timothy W. Dore
2                                                             U.S. Bankruptcy Court
                                                              (Dated as of Entered on Docket date above)
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                                                                            Honorable Timothy W. Dore
10                                                                          October 22, 2021; 9:30 a.m.

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                        IN THE UNITED STATES BANKRUPTCY COURT FOR THE
13                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE

14   In re:                                           )   Chapter 7
                                                      )   Bankruptcy No. 18-12360-TWD
15   MICHAEL KIDWELL,                                 )
                                                      )   ORDER APPROVING COMPROMISE
16                    Debtor(s).                      )   OF CLAIM WITH U.S. BANK
                                                      )
17
               THIS MATTER having come regularly before the above-signed Judge of the above-entitled
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     Court, upon the trustee’s motion to compromise a claim, proper notice having been given and no
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     objections having been timely filed, good cause appearing, and it being in the best interest of the
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     estate, now, therefore, it is hereby
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               ORDERED that the trustee, Nancy L. James, may enter into the Settlement Agreement
22
     attached hereto.
23
                                     //// END OF ORDER ////
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     ORDER APPROVING COMPROMISE                                              THE LIVESEY LAW FIRM
                                                                             2033 Sixth Avenue, Suite 900
     OF CLAIM WITH U.S. BANK                                                 Seattle, WA 98121
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     Case 18-12360-TWD             Doc 94   Filed 10/19/21     Ent. 10/19/21 11:36:29          Pg. 1 of 13
1    Presented By:

2    THE LIVESEY LAW FIRM

3
            /S/ Rory C. Livesey
4
     Rory C. Livesey, WSBA #17601
5    Attorney for Nancy L. James, Trustee

6    The Livesey Law Firm
     2033 Sixth Avenue, Suite 900
7    Seattle, WA 98121
     (206) 441-0826
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     ORDER APPROVING COMPROMISE                                        THE LIVESEY LAW FIRM
                                                                       2033 Sixth Avenue, Suite 900
     OF CLAIM WITH U.S. BANK                                           Seattle, WA 98121
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